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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

____________________________________
                                               §
UNITED STATES OF AMERICA,                      §
                                               §
                       Plaintiff,              §
v.                                             §
                                               §       Civil No. 1:21-cv-796-RP
THE STATE OF TEXAS,                            §
                                               §
                       Defendant.              §

      UNITED STATES’ RESPONSE TO MOTION FOR IN-PERSON HEARING

       The United States hereby responds to Texas’s Motion for In-Person Hearing, filed September

27, 2021 (Dkt. 37). The United States continues to take no position on Texas’s request to hold this

Friday’s preliminary injunction in person—a position it conveyed to the State via email at 10:15 a.m.

CDT on Friday, September 24, 2021, in response to a 1:34 a.m. CDT email the State sent that morning.

But in light of the arrangements the United States would need to make in the event the Court chooses

to hold the hearing in person, the United States respectfully requests that the Court issue a decision

on Texas’s motion by this evening, September 28, 2021.

Dated: September 28, 2021                              Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       BRIAN D. NETTER
                                                       Deputy Assistant Attorney General

                                                       MICHAEL H. BAER
                                                       ADELE M. EL-KHOURI
                                                       Counsel to the Acting Assistant Attorney
                                                       General, Civil Division

                                                       ALEXANDER K. HAAS
                                                       Director, Federal Programs Branch

                                                       JACQUELINE COLEMAN SNEAD

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                                                   Assistant Branch Director

                                                   DANIEL SCHWEI
                                                   Special Counsel

                                                   /s/ James Powers
                                                   Lisa Newman (TX Bar No. 24107878)
                                                   James R. Powers (TX Bar No. 24092989)
                                                   Joshua M. Kolsky
                                                   Kuntal Cholera
                                                   Christopher D. Dodge
                                                   Cody T. Knapp
                                                   Olivia Hussey Scott
                                                   Trial Attorneys
                                                   U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street, N.W.
                                                   Washington, D.C. 20005
                                                   Tel: (202) 353-0543
                                                   James.r.powers@usdoj.gov

                                                   Counsel for the United States

                                 CERTIFICATE OF SERVICE

       I certify that a copy of this filing was served on Texas and its counsel of record through

electronic filing in the Court’s ECF system.

                                                           /s/ James Powers
                                                           James R. Powers




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